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 8
 9                                UNITED STATES DISTRICT COURT
10                          FOR THE NORTHERN DISTRICT OF CALIFORNIA

11
                                                  )
12    Innovation Law Lab, et al.,                 )
13                                                )
                       Plaintiffs,                )
14                                                )
      v.                                          )   Civil Action No. 3:19-cv-0807-RS
15                                                )
16    Alejandro Mayorkas, et al.,                 )
                                                  )
17                     Defendants.                )
                                                  )
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     PARTIES’ JOINT STATUS REPORT
     Innovation Law Lab v. Mayorkas,
     Case No. 3:19-cv-0807-RS
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           JOINT STATUS REPORT AND REQUEST TO CONTINUE HOLDING ORDER TO
 1
                              SHOW CAUSE IN ABEYANCE
 2             The parties submit this status report, and respectfully request that the Court continue to
 3   temporarily hold in abeyance the Order to Show Cause issued by this Court on August 6, 2021.1
 4   See Dkt. 131. The Order to Show Cause previously directed Plaintiffs to respond as to why the
 5   instant case should not be dismissed as moot. The parties have jointly moved to temporarily hold
 6   the deadlines in this case in abeyance several times, and the Court has granted each of those
 7   requests. See Dkts. 133, 136, 138, 141.
 8             Granting a further abeyance will give the parties time to continue to meet and confer
 9   regarding outstanding issues presented by the case, including whether settlement is possible and
10   how this case should proceed in light of the nationwide injunction in Texas v. Biden, No. 2:21-cv-
11   0067, 2021 WL 3603341 (N.D. Tex. Aug 13, 2021). As to settlement, the parties have exchanged
12   additional settlement offers, and Defendants are presently considering a number of issues Plaintiffs
13   have raised in response to Defendants second counter-offer. As to the Texas injunction, the
14   government is presently re-implementing MPP in compliance with the injunction. See Court-
15   Ordered Reimplementation of MPP Policy Guidance, at https://www.dhs.gov/publication/court-
16   ordered-reimplementation-mpp-policy-guidance. The government also recently filed a petition for
17   certiorari seeking review of the Fifth Circuit’s decision affirming the injunction. See Petition,
18   Biden v. Texas, No. 21-954, available at https://www.supremecourt.gov/DocketPDF/21/21-
19   954/206810/20211229162636127_Biden%20v.%20Texas%20-%20Cert%20Petition.pdf.                      The
20   Court may rule on that petition as soon as February 18, 2022.
21             The parties continue to meet and confer, but more time is needed. An order continuing to
22   hold the Order to Show Cause in abeyance is therefore warranted. Accordingly, the parties request
23   that the Court continue the temporary abeyance of the briefing deadline for the Order to Show
24   Cause. The parties propose to submit another joint statement four months from today, on May 15,
25   2022.
26   //
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          Undersigned counsel conferred with counsel for Plaintiffs, who join this motion.


     PARTIES’ JOINT STATUS REPORT
     Innovation Law Lab v. Mayorkas,                    1
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     Respectfully submitted,
 2
                                           BRIAN M. BOYNTON
 3                                         Acting Assistant Attorney General
 4
                                           WILLIAM C. PEACHEY
 5                                         Director

 6                                      By: /s/ Erez Reuveni
 7                                         EREZ REUVENI
                                           Assistant Director
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12   Dated: January 14, 2022               Attorneys for Defendants
13
                                           /s/ Judy Rabinovitz (with permission)
14                                         Judy Rabinovitz*
                                           Michael Tan*
15                                         Omar Jadwat*
                                           Lee Gelernt*
16
                                           Anand Balakrishnan*
17                                         Daniel Galindo (SBN 292854)
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22   Dated: January 14, 2022               Attorneys for Plaintiffs
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     PARTIES’ JOINT STATUS REPORT
     Innovation Law Lab v. Mayorkas,          2
     Case No. 3:19-cv-0807-RS
                Case 3:19-cv-00807-RS Document 142 Filed 01/14/22 Page 4 of 4




 1                                     CERTIFICATE OF SERVICE
 2            I hereby certify that on January 14, 2022, I electronically filed the foregoing document
 3   with the Clerk of the Court for the United States Court of for the Northern District of California
 4   by using the CM/ECF system. Counsel in the case are registered CM/ECF users and service will
 5   be accomplished by the CM/ECF system.
 6
                                       By: /s/ Erez Reuveni
 7
                                           EREZ REUVENI
 8                                         Assistant Director
                                           United States Department of Justice
 9                                         Civil Division
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     PARTIES’ JOINT STATUS REPORT
     Innovation Law Lab v. Mayorkas,                 3
     Case No. 3:19-cv-0807-RS
